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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

CHRISTOPHER J. HADNAGY, an Case #_ 2:23-ev-01345-CDS-BNW
individual; and SOCIAL-ENGINEER LLC, )
a Pennsylvania limited liability company, ) VERIFIED PETITION FOR
Plaintiff(s), ) PERMISSION TO PRACTICE
) IN THIS CASE ONLY BY
Vs. ) ATTORNEY NOT ADMITTED
JEFF MOSS, an individual, and DEF CON Annee Cho a a
COMMUNICATIONS, INC., a Washington ) LOCAL COUNSEL
corporation, et al. )
Defendant(s). )
) FILING FEE IS $250.00
[ECF No. 4]
David A. Perez , Petitioner, respectfully represents to the Court:
(name of petitioner)
1, That Petitioner is an attorney at law and a member of the law firm of
Perkins Coie LLP
(firm name)
(street address)
Seattle , Washington _ 98101
(city) (state) (zip code)
206-359-8000 , DPerez@perkinscoie.com
(area code + telephone number) (Email address)
2. That Petitioner has been retained personally or as a member of the law firm by

Jeff Moss and Def Con Communications, Inc. tg provide legal representation in connection with
[client(s)}

the above-entitled case now pending before this Court.

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3: That since 9/1 aa 1 , Petitioner has been and presently is a
(date)
member in good standing of the bar of the highest Court of the State of Washington
(state)

where Petitioner regularly practices law. Petitioner shal] attach a certificate from the state bar or
from the clerk of the supreme court or highest admitting court of each state, territory, or insular
possession of the United States in which the applicant has been admitted to practice law certifying
the applicant's membership therein is in good standing.

4. That Petitioner was admitted to practice before the following United States District
Courts, United States Circuit Courts of Appeal, the Supreme Court of the United States and Courts
of other States on the dates indicated for each, and that Petitioner is presently a member in good

standing of the bars of said Courts.

Court Date Admitted Bar Number
Washington State September 15, 2011 43959
Oregon State June 16, 2023 231841
Washington State Supreme Court 9/15/2011
Supreme Court of the United States 11/1/2016
United States Court of Appeals, First Circuit 8/8/2018
United States Court of Appeals, Fourth Circuit 2/1/2016

See attachment 1

5, That there are or have been no disciplinary proceedings instituted against petitioner,
nor any suspension of any license, certificate or privilege to appear before any judicial, regulatory
or administrative body, or any resignation or termination in order to avoid disciplinary or

disbarment proceedings, except as described in detail below:

None

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6. That Petitioner has never been denied admission to the State Bar of Nevada. (Give

particulars if ever denied admission):

None

ws That Petitioner is a member of good standing in the following Bar Associations.

Washington State Bar
Oregon State Bar

8. Petitioner has filed application(s) to appear as counsel under Local Rule IA 11-2

(formerly LR IA 10-2) during the past three (3) years in the following matters: (State "none" if no applications.)

Date of Application Cause Title of Court Was Application
Administrative Body Granted or
or Arbitrator Denied
None

(If necessary, please attach a statement of additional applications)
9. Petitioner consents to the jurisdiction of the courts and disciplinary boards of the
State of Nevada with respect to the law of this state governing the conduct of attorneys to the same
extent as a member of the State Bar of Nevada.
10. _—_ Petitioner agrees to comply with the standards of professional conduct required of
the members of the bar of this court,
11. Petitioner has disclosed in writing to the client that the applicant is not admitted to

practice in this jurisdiction and that the client has consented to such representation.

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That Petitioner respectfully prays that Petitioner be admitted to practice before this Court

FOR THE PURPOSES OF THIS CASE ONLY. i

Petitiofigy’'s signature ]

STATE OF Washington )
)
COUNTY OF King )
David A. Perez , Petitioner, being first duly sworn, deposes and says:
That the foregoing statements are true. ~
»Pelitioner’s signature/
Subscribed and sworn to before me this cst tt eet ggg,
qachel Ki a 5” ‘
s aan EXP 03. *%

24th d

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LC Notary Publi of Court DRM 429005208

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DESIGNATION OF RESIDENT ATTORNEY ADMITTED TO
THE BAR OF THIS COURT AND CONSENT THERETO.

Pursuant to the requirements of the Local Rules of Practice for this Court, the Petitioner
believes it to be in the best interests of the client(s) to designate Bob Cassity 5

(name of local counsel)
Attorney at Law, member of the State of Nevada and previously admitted to practice before the

above-entitled Court as associate resident counsel in this action. The address and email address of

said designated Nevada counsel is:

9555 Hillwood Drive 2nd Floor
(street address)

Las Vegas , Nevada . 89134,
(city) (state) (zip code)
702-669-4600 , beassity@hollandhart.com
(area code + telephone number) (Email address)

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By this designation the petitioner and undersigned party(ies) agree that this designation constitutes
agreement and authorization for the designated resident admitted counsel to sign stipulations

binding on all of us.

APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL

The undersigned party(ies) appoint(s) Bob Cassity as
(name of local counsel)
his/her/their Designated Resident Nevada Counsel in this case.

/s/ Jeff Moss
(party's signature)

Jeff Moss
(type or print party name, title)

/s/ Jeff Moss
(party's signature)

Jeff Moss 0/b/o Def Con Communications
(type or print party name, Utle)

CONSENT OF DESIGNEE
The undersigned hereby consents to serve as associate resident Nevada counsel in this case.

/s/ Robert J. Cassity
Designated Resident Nevada Counsel’s signature

9779 bcassity@hollandhart.com
Bar number Email address
APPROVED:
Dated: this _5th of September , 20.23,

UNITED STR DISTRICT JUDGE

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